   Case 4:22-cr-00402      Document 196      Filed on 11/29/24 in TXSD      Page 1 of 1
                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                      ENTERED
                                                                                December 02, 2024
                         UNITED STATES DISTRICT COURT
                                                                                Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


UNITED STATES OF AMERICA                     §
                                             §
VS.                                          §   CRIMINAL NO. 4:22-CR-402-2
                                             §
IFEANYI NDUBISI OZOH                         §

                               ORDER TO SURRENDER

       The Defendant, Ifeanyi Ndubisi Ozoh, USM #08058-506

       Having been sentenced to the custody of the Bureau of Prisons, is ORDERED to

surrender on Thursday, January 2, 2025, by 2:00 p.m. to:

                                        FCI LOMPOC II

                                       3901 KLEIN BLVD

                                      LOMPOC, CA 93436

                                          805-735-2771



        SO ORDERED November 29, 2024, at McAllen, Texas.


                                                   ______________________________
                                                   Randy Crane
                                                   Chief United States District Judge




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